                             UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                     (Asheville)

TERI LYNN HINKLE,                            )
                                             )       Case No.: 1:18-cv-00007-MR-DLH
               Plaintiff,                    )
vs.                                          )
                                             )
                                             )
EXPERIAN INFORMATION                         )
SOLUTIONS INC., et al.                       )
                                             )
       Defendants.                           )

  DEFENDANT EQUIFAX INC. AND EQUIFAX INFORMATION SERVICES LLC’S
   ANSWER AND DEFENSES TO PLAINTIFF’S FIRST AMENDED COMPLAINT

       NOW COMES Defendants Equifax Information Services LLC (“Equifax”) and Equifax

Inc., collectively referred to herein as the “Equifax Entities”, by Counsel, and for their response

to Plaintiff’s Complaint state as follows:

                                PRELIMINARY STATEMENT

       In answering the Complaint, the Equifax Entities state that they are responding to

allegations on behalf of themselves only, even where the allegations pertain to alleged conduct

by all Defendants. The Equifax Entities deny any and all allegations contained in the headings

and/or unnumbered paragraphs in the Complaint.

                                             ANSWER

       In response to the specific allegations in the enumerated paragraphs in the Complaint, the

Equifax Entities responds as follows:

       1.      To the extent Plaintiff has properly alleged her claims, the Equifax Entities admit

this Court may exercise its jurisdiction.




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       2.      The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 2.

       3.      The Equifax Entities admit that Plaintiff is a natural person. The Equifax Entities

are without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 3.

       4.      The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 4.

       5.      The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 5.

       6.      Equifax Inc. denies it is a consumer reporting agency. Equifax Inc. admits the

remaining allegations in Paragraph 6.

       7.      The Equifax Entities state that the provisions of the FCRA speak for themselves

and to the extent Plaintiff misquotes, misstates, and/or mischaracterizes the provisions of the

FCRA, the allegations in Paragraph 7 are denied. The Equifax Entities admit that Equifax Inc. is

the parent corporation of Equifax Information Services LLC. Equifax Inc. denies that it is a

consumer reporting agency as defined by the FCRA.

       8.      The Equifax Entities deny the allegations in Paragraph 8.

       9.      The Equifax Entities deny the allegations in Paragraph 9.

       10.     The Equifax Entities deny the allegations in Paragraph 10.

       11.     The Equifax Entities deny the allegations in Paragraph 11.

       12.     The Equifax Entities state that the provisions of the FCRA speak for themselves

and to the extent Plaintiff misstates, misrepresents, and/or mischaracterizes the provisions of the

FCRA, the allegations in Paragraph 12 are denied.




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       13.     The Equifax Entities deny the allegations in Paragraph 13.

       14.     The Equifax Entities deny the allegations in Paragraph 14.

       15.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 15.

       16.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 16.

       17.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 17.

       18.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 18.

       19.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 19.

       20.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 20.

       21.     Equifax admits that it received Plaintiff’s request for a copy of her consumer file

disclosure. Equifax Inc. is without knowledge or information sufficient to form a belief as to the

remaining allegations in Paragraph 21.

       22.     Equifax admits that Plaintiff’s request for a copy of her consumer credit file

disclosure speaks for itself and to the extent Plaintiff misstates, misrepresents, and/or

mischaracterizes the contents of her request for her consumer credit file disclosure, the

allegations in Paragraph 22 are denied. Equifax Inc. is without knowledge or information

sufficient to form a belief as to the truth of the remaining allegations in Paragraph 22.




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       23.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 23.

       24.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 24.

       25.     The Equifax Entities deny the allegations in Paragraph 25 as they pertain to them.

The Equifax Entities are without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 25.

       26.     Equifax admits that it received Plaintiff’s request for a copy of her consumer file

disclosure. Equifax Inc. is without knowledge or information sufficient to form a belief as to the

remaining allegations in Paragraph 26.

       27.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 27.

       28.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 28.

       29.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 29.

       30.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 30.

       31.     Equifax admits that it received Plaintiff’s request for a copy of her consumer file

disclosure. Equifax Inc. is without knowledge or information sufficient to form a belief as to the

remaining allegations in Paragraph 31.

       32.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 32.




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       33.     Equifax admits that it provided Plaintiff with consumer credit file disclosure in

response to her request. The Equifax Entities are without knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 33.

       34.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 34.

       35.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 35.

       36.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 36.

       37.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 37.

       38.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 38.

       39.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 39.

       40.     Equifax denies the allegations in Paragraph 40 that pertain to it. The Equifax

Entities are without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 40.

       41.     Equifax denies the allegations in Paragraph 41 that pertain to it. The Equifax

Entities are without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 41.




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       42.     Equifax denies the allegations in Paragraph 42 that pertain to it. The Equifax

Entities are without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 42.

       43.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 43.

       44.     Equifax denies the allegations in Paragraph 44 that pertain to it. The Equifax

Entities are without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 44.

       45.     Equifax states that the provisions of the FCRA cited in Paragraph 45 and the

consumer file disclosure request it received from Plaintiff speak for themselves. Equifax denies

the allegations in Paragraph 45 that pertain to it. The Equifax Entities are without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph

45.

       46.     Equifax states that the consumer file disclosure request it received from Plaintiff

speaks for itself. Equifax denies the allegations in Paragraph 46 that pertain to it. The Equifax

Entities are without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 46.

       47.     Equifax states that the consumer file disclosure request it received from Plaintiff

speaks for itself. Equifax denies the allegations in Paragraph 47 that pertain to it. The Equifax

Entities are without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 47.

       48.     The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 48.




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       49.      The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 49.

       50.      Equifax denies the allegations in Paragraph 50 that pertain to it. Equifax Inc. is

without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 50.

       51.      Equifax admits that it received a consumer file disclosure request from Plaintiff.

Equifax denies that it violated the FCRA in handling any consumer file disclosure request it

received from Plaintiff. The Equifax Entities state that the provisions of the FCRA cited in

Paragraph 51 speak for themselves. The Equifax Entities deny the remaining allegations in

Paragraph 51.

       52.      Equifax denies that it violated the FCRA in handling any consumer file disclosure

request it received from Plaintiff.     The Equifax Entities deny the remaining allegations in

Paragraph 52.

       53.      The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 53.

       54.      The Equifax Entities reassert and re-allege their responses and defenses as set

forth above in Paragraphs 1 through 53.

       55.      The Equifax Entities admit the allegations in Paragraph 55.

       56.      The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 56.

       57.      The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 57.




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       58.      The Equifax Entities reassert and re-allege their responses and defenses as set

forth above in Paragraphs 1 through 57.

       59.      The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 59.

       60.      The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 60.

       61.      The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 61.

       62.      The Equifax Entities reassert and re-allege their responses and defenses as set

forth above in Paragraphs 1 through 61.

       63.      The Equifax Entities are without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 63.

       64.      Equifax Inc. denies the allegations in Paragraph 64. Equifax admits that it is a

consumer reporting agency as defined by the FCRA. Equifax denies the remaining allegations in

Paragraph 64.

       65.      The Equifax Entities deny the allegations in Paragraph 65 and deny Plaintiff is

entitled to any relief claimed in the subsequent WHEREFORE Paragraph.

       66.      The Equifax Entities admit Plaintiff has demanded a trial by jury.

                                      GENERAL DENIAL

             Any allegation in Plaintiff’s Complaint not heretofore specifically responded to by

the Equifax Entities is hereby denied.

                                           DEFENSES

       Without assuming the burden of proof where it otherwise rests with Plaintiff, the Equifax




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Entities plead the following defenses to the Complaint:

                                           FIRST DEFENSE

          Plaintiff’s damages, if any, were not caused by the Equifax Entities, but by another

person or entity for whom or for which the Equifax Entities are not responsible.

                                         SECOND DEFENSE

          The Complaint is barred by the fault and negligence of other persons or entities and

plaintiff’s damages, if any, should be apportioned according to the principles of comparative

fault.

                                          THIRD DEFENSE

          Equifax Inc. is not a proper party to this action.

                                         FOURTH DEFENSE

          Equifax Inc. is not a consumer reporting agency as defined by the FCRA.

                                           FIFTH DEFENSE

          At all relevant times herein, the Plaintiff's alleged damages, which the Equifax Entities

deny exist, were aggravated by the failure of the Plaintiff to use reasonable diligence to mitigate

the same. Therefore, Plaintiff's recovery, if any, should be barred or decreased by reason of her

failure to mitigate alleged losses.

                                           SIXTH DEFENSE

          Equifax has complied with the Fair Credit Reporting Act in its handling of Plaintiff’s

credit file and is entitled to each and every defense stated in the Act and any and all limitations

of liability.

                                        SEVENTH DEFENSE

          Plaintiff cannot meet the requirements of 15 U.S.C. § 1681n in order to recover punitive




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or statutory damages.

       The Equifax Entities reserve the right to assert additional defenses that they learn through

the course of discovery.

       WHEREFORE, having fully answered or otherwise responded to the allegations

contained in Plaintiff’s Complaint, the Equifax Entities pray that:

       (1)     Plaintiff’s Complaint be dismissed in its entirety and with prejudice, with all costs

taxed against Plaintiff;

       (2)     That the Equifax Entities be dismissed as a parties to this action;

       (3)     That this lawsuit be deemed frivolous and the Equifax Entities recover from

plaintiff their expenses of litigation, including but not limited to attorneys’ fees pursuant to 15

U.S.C. § 1681n(c) and 15 U.S.C. § 1681o(b); and

       (4)     That the Equifax Entities recover such other and additional relief, as the Court

deems just and appropriate.

       Respectfully submitted this 8th day of November, 2018.


                                              KING & SPALDING LLP


                                              /s/ Bradley J. Lingo
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of November, 2018, a copy of the foregoing pleading

was filed electronically with the clerk of court via the Court’s ECF system which will send

notifications to ECF participants, and Plaintiff was served via U.S. Mail, postage prepaid:

Teri Lynn Hinkle
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Pro Se Plaintiff


                                             KING & SPALDING LLP


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